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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


JONATHAN STANLEY, et al.,
                                                      Case No. 2:16-cv-386
                       Plaintiffs,
       v.                                             Judge Graham

TURNER OIL & GAS PROPERTIES,                          Magistrate Judge Deavers
INC.,

                       Defendant.

                                              ORDER

       This matter is before the Court on Magistrate Judge Deavers’s Report and Recommenda-
tion. (Doc. 132). The R&R recommends granting two motions: (1) Plaintiffs’ Motion for Attor-
ney Fees, (Doc. 121); (2) the parties’ Joint Motion for Approval of Class Action Settlement,
(Doc. 127). But the R&R conditioned this recommendation on Plaintiffs’ counsel submitting ad-
ditional information identified in the R&R.
       Counsel has provided the additional information requested in the R&R, including a calcu-
lation breakdown showing how counsel determined the proportionate reduction to the settlement
fund, a total list of anticipated payouts to the class members, and a clarification of the amount of
the cy pres fund and the name of the recipient charities. (See Doc. 133). No objections to the
R&R were filed.
       The Court finds that the R&R is thorough, well-reasoned, and the Court agrees with its
conclusions in full. Accordingly, the Court hereby ADOPTS the R&R. (Doc. 132). The pending
motions are GRANTED, (Docs. 121, 127), as more fully described in the R&R.
       IT IS SO ORDERED.


                                                              s/ James L. Graham
                                                              JAMES L. GRAHAM
                                                              United States District Judge

DATE: August 30, 2018
